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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CRIMINAL NO. 4:02-CR-100-004
                                                  §
 CHADWICK JASON PARMLEY                           §

                                               ORDER

        The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report and Recommendation of the

 Magistrate Judge, which contains his proposed findings of fact and recommendations for the

 disposition of the present action, has been presented for consideration. The parties waived objections

 to the Report and Recommendation.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as the

 findings and conclusions of this Court.




             .    SIGNED this the 24th day of September, 2007.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE
